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IN THE UNITED STATES DISTRICT COURT '¢i“'dl
WESTERN DISTRICT OF TENNESSEE : § ._`. r,
l~"‘--i_"zi'; E':"‘» "‘l_ ‘ '3
WESTERN DIVISION EHB}GF?§,§§ H&§
' L.Ng |.

UNITED STATES OF AMERICA,
V. CR. NO.: 04-20103DV
SCOTT CRAWFORD ET. AL.,

Defendants.

vv\\dv`_r`de-r

 

ORDER GRANTING APPLICATION FOR LEAVE OF ABSENCE

lt appearing that Tony L. Axam has duly applied for leave
of absence for the dates set forth in the within and foregoing
motion and that opposing counsel has been provided With notice
of said application for leave of absence and it being found that
no objections have been filed;

It is Hereby Ordered that Tony L. Axam be GRANTED a leave
of absence commencing on Monday, 4 July 2005 up to and including
Monday, 8 August 2005 and that any and all proceedings involving

applicant be stayed during said period of time.

This, Qge day Of §§4),_‘¢3 , 2005.

 
 
 

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Honor b e Bernibe Donald
J dge, United States District Court

CC: United States Attorney’s Office

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 256 in
case 2:04-CR-20103 Was distributed by faX, mail, or direct printing on

Apri128, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

